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                               United States District Court
                                    District of Alaska


 John Doe,
                                                    Case No.

             Plaintiff,

        v.                                          Complaint


 Alaska Pacific University,
   An Alaska Nonprofit Corporation,

             Defendant.


      Plaintiff, John Doe (“Plaintiff”), hereby sues Defendant, Alaska Pacific University, an
Alaska nonprofit corporation, and alleges:




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      1. Nature of Action


      1.1 Plaintiff John Doe1 seeks relief against Defendant Alaska Pacific University
(“Alaska Pacific”) following Alaska Pacific’s wrongful and unjustifiable imposition of
sanctions against Plaintiff, an Alaska Pacific freshman, based upon false and unproven
allegations of sexual harassment. This injustice was the direct result of Alaska Pacific’s
failure to (1) conduct an adequate investigation; (2) provide Plaintiff with due process as
defined by Alaska Pacific’s own policies and Title IX of the Education Amendments of
1972; (3) make reasonable modifications in Alaska Pacific’s policies, practices, or
procedures regarding Plaintiff’s diagnosed and documented disability, namely autism, as
required by the Americans with Disabilities Act, including but not limited to 42 U.S.C. §
12182; and due to (4) Alaska Pacific’s excessive and unbalanced focus on the concerns and
interests of the female complainant and the convenience of the University to the total
exclusion of the rights and interests of the male Plaintiff.
      1.2 Alaska Pacific’s unjustified actions violated its contract with Plaintiff, the Alaska
Pacific University Student Code of Conduct; the requirements of the Americans with
Disabilities Act, 42 U.S.C. §§ 12101 et. seq.; and Title IX of the Education Amendments of
1972, 20 U.S.C. §§ 1681-1688 (“Title IX”). Plaintiff is covered by the protections of Title
IX against gender-based educational discrimination. The Americans with Disabilities Act
requires Alaska Pacific to make reasonable accommodation to his documented disability.
      1.3 Alaska Pacific’s arbitrary and capricious findings and disciplinary actions,
imposed by Manda Hill, Alaska Pacific’s Title IX Student Issues Deputy and ratified by her
superiors Laurie Boom, Title IX Coordinator, and Ben Hahn, Dean of Students, have
caused Plaintiff grievous harm, including derailing his college education, tarnishing his
reputation, the loss of college credits and the money spent to obtain those credits, and
permanently damaging his future career and educational prospects. The sanctions
imposed against Plaintiff by Alaska Pacific include expulsion and refusal to transfer any
academic credits earned while Plaintiff attended Alaska Pacific.

1
 Plaintiff herewith files a motion for leave to use pseudonyms.
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      2. Parties


      2.1 Plaintiff John Doe (“John Doe” or “Plaintiff”) is a male natural person residing in
Alaska. During the events described in this pleading, Plaintiff was a full-time freshman at
Alaska Pacific University and resided in a university-owned and operated dormitory
building on the university campus in Anchorage, Alaska. At the time of the events
described in this pleading, he was nineteen years old and the female complainant, E.E.,2
was eighteen years of age, upon information and belief.
      2.2 Defendant Alaska Pacific University is a private liberal arts and sciences college
and a domestic non-profit corporation incorporated in Alaska with its principal place of
business located at 4101 University Drive, Anchorage, Alaska, 99508.


      3. Jurisdiction and Venue


      3.1 This Court has federal question and supplemental jurisdiction pursuant to 28
U.S.C. §1331 and § 1367 because Plaintiff states claims arising under the Constitution and
the laws of the United States, including Title IX of the Education Amendments of 1972,
20 U.S.C. §§ 1681-88, and the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq.;
and the state law claims are so closely related to the federal law claims as to form the same
case or controversy under Article III of the U.S. Constitution.
      3.2 This Court has personal jurisdiction over Alaska Pacific because it conducts
business within the State of Alaska.
      3.3 Venue for this action properly lies in this district pursuant to 28 U.S.C. §1391
because Alaska Pacific is considered to reside in this district and a substantial part of the
events or omissions giving rise to the claim occurred in this judicial district.



2
 Plaintiff’s motion to use pseudonyms includes using initials for the female complainant as well.
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      4. Factual Background



      4.1 Alaska Pacific University


      4.1.1 Alaska Pacific is a private co-educational, residential university with a student
population of roughly 725 students. Alaska Pacific is an Alaska non-profit corporation that
receives federal funds pursuant to Title IX.
      4.1.2 Alaska Pacific’s agent and authorized representative, Manda Hill, exercised
overall responsibility for the disciplinary charges brought by Alaska Pacific against
Plaintiff, for the inadequate investigation of the allegations made against him, for the
complete lack of any hearing to determine the validity of the charges, for favoring Jill Roe
over Plaintiff because of her gender, for erroneously finding Plaintiff guilty and imposing
sanctions against him, for failing to provide him due process as is required by relevant
statutes, and for related acts and omissions alleged herein.
      4.1.3 Alaska Pacific’s agents and authorized representatives Laurie K Boom, Dave
Wilga, Karissa DuPree, and Yaso Thiru failed to provide due process to John Doe by
conducting an inadequate and incomplete examination of the record below and by
upholding a fundamentally flawed investigation, an investigation that itself deprived Mr.
Doe of his statutory due process.


      4.2 Federal Statutory and Regulatory Requirements Regarding Sexual
Assault Allegations


      4.2.1 Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688,
applies to all public and private educational institutions that receive federal funds,
including colleges and universities.
      4.2.2 Alaska Pacific, as a recipient of federal funds, is bound by Title IX and its
regulations and, upon information and belief, has executed an assurance of compliance.
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        4.2.3 Title IX sets forth regulations governing how schools handle issues of sexual
harassment and sexual assault.
        4.2.4 Specifically, Title IX, as interpreted by the Department of Education, requires
that schools provide due process in sexual assault proceedings on campus.
        4.2.5 That due process specifically includes notice of accusations, an opportunity to
be heard for both the accuser and the accused, and timely access to any
information/evidence to be used at any sexual assault proceedings.


        4.3 Americans With Disabilities Act



        4.3.1 The Americans with Disabilities Act, 42 U.S.C. §§ 12101 et. seq., prohibits
discrimination based upon disability.
        4.3.2 As part of its prohibition against discrimination based on disability, the
Americans with Disabilities Act requires that places of public accommodations “make
reasonable modifications in policies, practices, or procedures” to ensure that persons with
disabilities have the same access to “goods, services, facilities, privileges, advantages, or
accommodations” as persons without disabilities.


        5. Facts of This Case



        5.1 John Doe was an Alaska high school student.
        5.2 He sought admission to Alaska Pacific University to matriculate in the fall, 2016,
term.
        5.3 John Doe was diagnosed with autism in high school, a diagnosis confirmed by
several counselors and therapists.
        5.4 John Doe, through his parents, provided Alaska Pacific University with
documentation regarding his autism, how it manifests itself and the resulting social
awkwardness.
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      5.5 John Doe met E.E., a student at University of Alaska, Anchorage, on or about
March 25, 2017.
      5.6 They spent some time together over the next couple of days.
      5.7 On March 28, 2018, John Doe and E.E. spent time together in his room.
      5.8 During that time, they cuddled, kissed and embraced.
      5.9 E.E. did not leave or attempt to leave.
      5.10 E.E. did not protest.
      5.11 E.E. did not pull away.
      5.12 E.E. did not give any sign she was reluctant or forced.
      5.13 They started to watch a movie.
      5.14 John Doe left to go to class.
      5.15 Upon his return, E.E. was still in the room and crying.
      5.16 E.E. called her mother, who came to John Doe’s room and took her daughter to
Providence.
      5.17 John Doe also sent to Providence, where he was approached by Anchorage
Police Department officials.
      5.18 Surprised and saddened by E.E.’s response, John Doe’s social awkwardness and
autism and law enforcement’s experience in interrogating hardened criminals led John
Doe to think he must have done something wrong.
      5.19 The Anchorage Police Department and the State of Alaska Department of Law
thoroughly investigated this matter and determined that John Doe had committed no
crime.
      5.20 Based upon that investigation, no charges were filed.
      5.21 Alaska Pacific then conducted its own investigation.
      5.22 John Doe was not allowed to present any evidence.
      5.23 John Doe was not given access to the evidence gathered by Alaska Pacific.
      5.24 John Doe was not afforded the opportunity to present any evidence from
relevant witnesses.



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      5.25 Those witnesses specifically include his counselors and therapists who could
testify regarding his autism and how his disability affects his perceptions of interpersonal
communications and makes him socially awkward.
      5.26 Those witnesses would include professors, friends and acquaintances who could
testify about his character
      5.27 Indeed, Alaska Pacific made no accommodation of John Doe’s autism and its
effects as part of their process.
      5.28 Alaska Pacific did not conduct any hearing.
      5.29 Without a hearing, John Doe was not able to present evidence to a neutral fact-
finder.
      5.30 Without a hearing, John Doe was not able to present fact witness testimony to a
neutral fact-finder.
      5.31 Without a hearing, John Doe was not able to present character testimony to a
neutral fact-finder.
      5.32 Without a hearing, John Doe was not able to present expert testimony to a
neutral fact-finder.
      5.33 Without a hearing, John Doe was not allowed to tell his story to a neutral fact
finder.
      5.34 Without a hearing, Alaska Pacific decided that John Doe was guilty of sexual
misconduct, abusive sexual contact and dating violence.
      5.35 On June 19, 2017, Alaska Pacific notified John Doe that he was expelled.
      5.36 John Doe appealed that decision.
      5.37 On August 15, 2017, Alaska Pacific notified John Doe that his appeal had been
denied.


      6. Count I – Declaratory Judgment Title IX



      6.1 The above paragraphs are repeated and re-alleged.

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      6.2 As applied to John Doe, Alaska Pacific’s student disciplinary process violated
John Doe’s right to due process under Title IX by:
      6.3 Failing to properly evaluate the charge;
      6.4 Denying Plaintiff the right to tell his story;
      6.5 Failure to conduct a “thorough, reliable and impartial” investigation with a
trained investigator;
      6.6 Failure to set an appropriate, fair hearing date that would have allowed Plaintiff
to present exculpatory evidence;
      6.7 Failure to provide fair and meaningful notice of the charges;
      6.8 The refusal to contact witnesses identified by Plaintiff;
      6.9 The failure to provide an unbiased disciplinary process and tribunal;
      6.10 The failure to ensure that Plaintiff be presumed innocent and that Alaska
Pacific had the burden of proof;
      6.11 The failure to ensure there was sufficient evidence to support the conclusion;
      6.12 Acting to achieve a pre-determined result;
      6.2 Pursuant to 28 U.S.C. §§2201, 2201, and 1651, John Doe is entitled to:
      6.2.1 A declaratory judgment that Alaska Pacific’s student disciplinary procedures,
including the Sexual Misconduct Policy and Procedures, for all relevant time periods
violated Title IX as written;
      6.2.2 A declaratory judgment that Alaska Pacific’s student disciplinary procedures,
including the Sexual Misconduct Policy and Procedures, for all relevant time periods
violated Title IX as implemented;
      6.2.3 A declaratory judgment that Alaska Pacific’s student disciplinary procedures,
including the Sexual Misconduct Policy and Procedures, for all relevant time periods
violated Title IX as applied to Plaintiff; and
      6.2.4 Further necessary or proper relief.


      Count II – Violation of Title IX


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       7.1 The above paragraphs are repeated and re-alleged.
       7.2 As set forth above, Alaska Pacific engaged in a series of actions that ultimately
resulted in the finding that Plaintiff committed sexual misconduct, abusive sexual contact
and dating violence.
       7.3 Alaska Pacific’s finding was based upon several significant evidentiary
weaknesses, including:
       7.3.1 The absence of any evidence E.E. objected to the sexual contact;
       7.3.2 Willful blindness that the law enforcement investigation did not create
probable cause to believe that John Doe had committed any crime;
       7.3.3 Failure to consider John Doe’s autism when reviewing this evidence.
       7.4 Aside from the evidentiary weaknesses, Alaska Pacific’s finding was likewise
based upon numerous significant procedural flaws, including:
       7.4.1 The lack of an appropriate investigation by a trained investigator;
       7.4.2 The refusal to provide Plaintiff with a hearing that would allow him to contest
the allegations against him;
       7.4.3 The failure to provide Plaintiff with the evidence that would be used against
him;
       7.4.4 The refusal to allow Plaintiff to present exculpatory evidence;
       7.4.5 The presumption of guilt applied to Plaintiff from the onset of the
investigation;
       7.4.6 Impermissible burden shifting requiring Plaintiff to bear the burden of proof.
       7.5 John Doe did not receive the due process protections guaranteed by Title IX
because he was male and Alaska Pacific did not want to explain any acquittal of a male
student facing discipline for sexual misconduct allegations.
       7.6 Alaska Pacific did not want to jeopardize any federal funding by acquitting a
male student facing discipline for sexual misconduct allegations.
       7.7 Alaska Pacific did not want to face potential civil litigation and liability by
acquitting a male student facing discipline for sexual misconduct allegations.
       7.8 The evidentiary and procedural weaknesses evidence invidious gender bias and a
discriminatory environment against John Doe because of his gender.
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      8. Count III – Violation of Title IX, Deliberate Indifference


      8.1 The above paragraphs are repeated and re-alleged.
      8.2 Alaska Pacific and its relevant agents had actual notice of:
      8.2.1 Alaska Pacific’s misconduct related to these disciplinary proceedings;
      8.2.2 The unlawful findings that John Doe committed sexual misconduct, abusive
sexual contact and dating violence;
      8.2.3 The hearing and appeal process;
      8.2.4 Plaintiff’s expulsion.
      8.3 Despite this actual notice of Alaska Pacific’s misconduct and its harm to Plaintiff,
its agents failed and refused to correct any misconduct even though they had the authority
and obligation to do so. This refusal was unreasonable.
      8.4 This failure and refusal is only explained by gender bias against males as
described above.
      8.5 Plaintiff, based solely on his gender, has suffered and continues to suffer the
effects of the deliberate indifference of Alaska Pacific and its agents. This has caused
Plaintiff substantial injury, damage and loss, including, but not limited to: mental
anguish; severe emotional distress; injury to reputation; past and future economic loss;
deprivations of due process; loss of educational opportunities; and loss of future career
prospects.


      9. Count IV – Americans With Disabilities Act


      9.1 The above paragraphs are repeated and re-alleged.
      9.2 Alaska Pacific and its agents had actual notice of Plaintiff’s disability.
      9.3 This disability was diagnosed and documented prior to John Doe’s matriculation
into Alaska Pacific in the fall of 2016.

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      9.4 Plaintiff’s father provided Alaska Pacific with extensive documentation regarding
Plaintiff’s diagnoses, including his treatment providers, descriptions of how his disability
affects him, and reasonable accommodations that must be made to allow for Plaintiff’s
disability.
      9.5 At no time during the fundamentally flawed investigation was Plaintiff allowed to
present any evidence of his disability.
      9.6 Alaska Pacific made no attempt to accommodate Plaintiff’s disability in any way.
      9.7 Alaska Pacific made no effort to consider Plaintiff’s disability in reading its
findings of fact.
      9.8 By failing to consider Plaintiff’s disability, Alaska Pacific has discriminated
against Plaintiff and prevented him from access to “goods, services, facilities, privileges,
advantages, or accommodations” similar to persons without disabilities.
      9.9 This has caused Plaintiff substantial injury, damage and loss, including, but not
limited to: mental anguish; severe emotional distress; injury to reputation; past and future
economic loss; deprivations of due process; loss of educational opportunities; and loss of
future career prospects.


      10. Count V – Breach of Contract


      10.1 The above paragraphs are repeated and re-alleged.
      10.2 At all relevant times, Plaintiff and Alaska Pacific were in a contractual
relationship.
      10.3 Alaska Pacific was required to act in accordance with that contract, which
included relevant policies and procedures manuals, Title IX, and the Americans with
Disabilities Act in investigating and adjudicating sexual misconduct allegations, and in
resolving disciplinary decision appeals.
      10.4 The promises set forth in Alaska Pacific’s policies and procedures manuals were
supported by valid consideration.


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      10.5 Plaintiff fully complied with all of his contractual obligations, including
payment of tuition and compliance with enrollment procedures.
      10.6 Based upon the foregoing, Alaska Pacific breached its contractual obligations
by:
      10.6.1 Discriminating against Plaintiff on the basis of his gender;
      10.6.2 Failing to provide adequate policies and procedures for investigation and
adjudication of alleged sexual misconduct;
      10.6.3 Violating Alaska Pacific’s policy against gender/sex-based discrimination by
establishing a presumption, on the basis of gender stereotypes, that Plaintiff committed
sexual misconduct, abusive sexual contact and dating violence;
      10.6.4 Conducting a cursory, superficial, biased, and fundamentally unfair
investigation, hearing and appeal process;
      10.6.5 Failing to provide any sort of hearing for Plaintiff before his expulsion;
      10.6.6 Failing to allow Plaintiff to present a defense by denying him a hearing;
      10.6.7 Failing to allow Plaintiff to present a defense by denying him access to the
investigative report;
      10.6.8 Rendering an adverse decision against Plaintiff without evidence to support it;
      10.6.9 Issuing an arbitrary and capricious finding;
      10.6.10 Imposing a harsh, disproportionate and unreasonable sanction;
      10.6.11 Failing to provide Plaintiff with impartial process.
      10.7 As a direct, proximate and foreseeable consequence of those breaches, Plaintiff
sustained significant damages, including, but not limited to, loss of educational
opportunities, loss of career opportunities, loss of earnings, economic injuries and other
direct and consequential damages.


      11. Count VI – Breach of Covenant of Good Faith and Fair Dealing


      11.1 The above paragraphs are repeated and re-alleged.


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      11.2 The contract between Alaska Pacific and Plaintiff imposed upon Alaska Pacific a
duty of good faith and fair dealing, including a duty to conduct a diligent, unbiased, and
meaningful investigation, adjudication, and appellate review according to Alaska Pacific’s
policies and procedures.
      11.3 Alaska Pacific breached and violated that covenant by failing to conduct a
diligent, unbiased, and meaningful investigation, adjudication, and appellate review.
      11.4 As a direct, proximate, and foreseeable consequences of those breaches, Plaintiff
sustained significant damages including, but not limited to, loss of educational
opportunities, loss of career opportunities, loss of earnings, economic injuries and other
direct and consequential damages.


      12. Count VII – Negligence


      12.1 The above paragraphs are repeated and re-alleged.
      12.2 Having created a student disciplinary process, Alaska Pacific and its agents
owed a duty of care to Plaintiff and others to conduct that process in a non-negligent
manner and with due care.
      12.3 The conduct of Alaska Pacific and its agents fell below the standard of care and
breached the duty of due care and competence.
      12.4 These breaches of the duty of care caused Plaintiff, in fact and proximately, to
sustain substantial injury, damage, and loss, including, but not limited to: mental anguish;
severe emotional distress; injury to reputation; past and future economic loss;
deprivations of due process; loss of educational opportunities; and loss of future career
prospects.


      13. Relief Requested


      13.1 Wherefore, Plaintiff prays for judgment against defendant asks this court to:

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      13.2 Issue a judgment:
      13.2.1 Declaring the investigation, prosecution, and adjudication of the charge
against Plaintiff to be contrary to Alaska Pacific’s contractual and other obligations, its
own rules and contrary to law;
      13.2.2 Declares Alaska Pacific student disciplinary process, including the sexual
misconduct policies and procedures, as written, implemented, and as applied to Plaintiff to
be in violation of Title IX, including its due process requirements;
      13.2.3 Requires Alaska Pacific to expunge Plaintiff’s entire disciplinary proceeding
from its records;
      13.2.4 Declares Alaska Pacific’s conduct to be wrongful, willful, intentional, and
reckless;
      13.2.5 Prohibits Alaska Pacific from referencing Plaintiff’s disciplinary proceeding in
the event of any third-party inquiry;
      13.2.6 Authorizes Plaintiff to receive credit for all satisfactorily-completed
coursework while attending Alaska Pacific, including transfer of such credits to another
institution if requested; and
      13.2.7 Declares that upon third-party inquiry, Plaintiff may reply in the negative to
any question regarding whether he has been accused of sexual misconduct or any other
similar question.
      13.2 Award plaintiff compensatory damages in an amount to be determined at trial,
but not less than $25,000.00 for lost tuition, room, board, and other expenses paid to
Alaska Pacific as well as damages not less than $750,000.00 for mental anguish, severe
emotional distress, serious mental injury, injury to reputation, past and future economic
loss, deprivations of due process, loss of educational opportunities, loss of future career
prospects, and other injuries proximately caused by the wrongful conduct of defendant;
      13.4 Award plaintiff his attorney’s fees, disbursements, and costs pursuant to the
provisions of 42 U.S.C. §1988(b)(relating to Title IX); or pursuant to any other statute or
common law doctrine providing for the award of attorney’s fees, disbursements, and/or
costs;
      13.5 Award prejudgment interest; and
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      13.6 Grant such other and further relief as the court may deem just and proper.


      14. Demand For Jury Trial


      Plaintiff hereby demands a trial by jury of all claims so triable.




      DATED this 14th day of August, 2018, at Anchorage, Alaska.

                                            Steven M. Wells, PC
                                            Attorneys for Defendant



                                     By:    __/s/ Steven M. Wells ____ .
                                            Steven M. Wells
                                            ABA #0010066




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